     Case 4:19-cv-00226 Document 413-11 Filed on 03/02/21 in TXSD Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION
DWIGHT RUSSELL, ET AL.
    On behalf of themselves and all
    Others similarly situated,

         Plaintiffs,

v.                                             C.A. No. 4:19-CV-00226

HARRIS COUNTY, TEXAS, ET AL.,
    Defendants.



                 NON-PARTY FELONY JUDGES’ MOTION TO QUASH




                               Exhibit K

                       Affidavit of Courtney Corbello
      Case 4:19-cv-00226 Document 413-11 Filed on 03/02/21 in TXSD Page 2 of 4




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
 DWIGHT RUSSELL, ET AL.
     On behalf of themselves and all
     Others similarly situated,

          Plaintiffs,

 v.                                                          C.A. No. 4:19-CV-00226

 HARRIS COUNTY, TEXAS, ET AL.,
     Defendants.



      My name is Courtney Corbello and I am over the age of 18 and fully competent to make this

declaration and state the following:


      1. I am currently employed as an Assistant Attorney General for the State of Texas Attorney
         General’s Office.
      2. I am lead counsel on the above-named case.
      3. On July 24, 2020, the Court granted Plaintiffs’ request for expedited discovery against the
         Felony Judges to include four requests for production limited to the time period of January
         1, 2020 to present, other than RFP 3, which required searching from January 1, 2019 to the
         present.
      4. Upon the Court’s order, I set up 19 different meetings with my clients in order to discuss
         each judges’ obligations and responses to each discovery request.
      5. After doing so, I then utilized the Attorney General’s electronic services specialist, Adrian
         Skinner, to assist me in retrieving the electronic mail data from each Felony Judge for my
         review.
      6. Using a list of search terms, which was provided, and never objected, to Plaintiffs’ counsel,
         was used to populate a group of documents that were potentially responsive to Plaintiffs’
         first set of requests for production. That number totaled almost 60,000 documents or
         approximately 210,000 pages.


                                               Page 1 of 3
Case 4:19-cv-00226 Document 413-11 Filed on 03/02/21 in TXSD Page 3 of 4




7. Given the need for client meetings and time to obtain the electronic database from County
   IT professionals and narrow the group of documents to review using the search terms
   generated, a review of the potentially responsive ESI began in mid-August 2020.
8. I was able to enlist two other attorneys within my office to assist me in this case. Thus, three
   attorneys, total, were responsible for reviewing the potentially responsive documents and
   marking, redacting or asserting a privilege for each page.
9. Those two attorneys are still assisting me in this case. I do not have the option to enlist
   more help given personnel, budget and other internal blockades to such a demand. Even if
   I did, as lead counsel, I am still required to review each document marked and ensure that
   it is done properly and any privileges my clients are entitled to are asserted.
10. In order to review 60,000 documents, it took both myself and my co-counsel approximately
   5 months. The review of these documents, however, was performed during work hours,
   evening hours and weekend hours. This review that my co-counsel and I conducted was
   done while also handling dockets of +40 cases.
11. In addition, prior to any of the bi-weekly sets of production we would send to Plaintiffs’
   counsel, I conducted a final review of every page marked responsive and/or privileged. As
   needed, I also consulted with my clients to ensure any questionable documents were
   reviewed by them as well.
12. This time period does not include the generation and finalization of a privilege log given
   the timing of Plaintiffs’ opting to dismiss the Felony Judges from suit. My good-faith
   estimation as to how long a privilege log would have taken is 1 additional month.
13. Given that both myself and my co-counsel continue to be the only personnel assigned to
   this case, and the lack of change to any of our dockets other than increasing, it is likely any
   required review of responsive documents, if Plaintiffs’ subpoenas are not quashed, will
   involve the same, or less, amount of documents-per-hour review as before. At this time,
   counsel is not available to dedicate a significant amount of non-business hours to such
   review.
14. Thus, based on the rate of review from the first set of discovery responses, counsel
   anticipates being able to, at most, review approximately 500 pages each per 8-hour
   workday. This number should be reasonable based on the timeline of the past document


                                          Page 2 of 3
   Case 4:19-cv-00226 Document 413-11 Filed on 03/02/21 in TXSD Page 4 of 4




       review, industry standards, and accounting for other cases and personal obligations that
       will also require attention within any given weekday.
   15. Given that there are 315,578 pages that currently require review – this does not include ESI
       from other sources that may be provided to me once I meet with each client – this works
       out to approximately 70 weeks, or 1.5 years, required to complete document review. (900
       pages x 5 days a week = 4500; 315,578/4,500 = 70). Although myself and my co-counsel can
       agree make reasonable efforts to increase the daily page review whenever our dockets and
       personal schedules allow, I anticipate needing at least 10 to 12 months to complete review
       of this many pages, confer with my clients, and create a privilege log.
   16. These numbers will likely vary once additional data from the Felony Judges’ email accounts
       from the time period of August 2020 to the present are downloaded and processed by the
       OAG’s ESI personnel. I will provide a supplemental affidavit with numbers that account
       for both this and all search and custodian list limitations Plaintiffs have provided once that
       information is available to me.
   17. Any estimate provided herein does not include the time necessary to provide a privilege log
       nor engage in any likely motions to compel or other discovery disputes brought by Plaintiffs.
   18. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
       and correct


Further affiant sayeth not.
Executed on: March 2, 2021.
                                                       ________________________
                                                            Courtney Corbello




                                             Page 3 of 3
